           Case 2:25-cv-00781-RSM         Document 35       Filed 05/16/25       Page 1 of 7




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 6
                                                                  The Honorable Ricardo S. Martinez
 7
                        IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 9

10   WASHINGTON STATE ASSOCIATION OF HEAD
     START AND EARLY CHILDHOOD ASSISTANCE AND
11
     EDUCATION PROGRAM, ILLINOIS HEAD START
12   ASSOCIATION, PENNSYLVANIA HEAD START
                                                                    Case No. 2:25-cv-00781-RSM
     ASSOCIATION, WISCONSIN HEAD START
13   ASSOCIATION, FAMILY FORWARD OREGON, and
14   PARENT VOICES OAKLAND,
                                                                    MOTION TO FILE
15                                                                  DECLARATIONS IN
                                        Plaintiffs,                 PSEUDONYM
16                                                                  NOTE ON MOTION
17                                                                  CALENDAR:
     v.                                                             JUNE 13, 2025
18

19
     ROBERT F. KENNEDY, JR., in his official capacity as
20   Secretary of Health and Human Services; U.S.
21   DEPARTMENT OF HEALTH AND HUMAN SERVICES;
     ANDREW GRADISON, in his official capacity as Acting
22   Assistant Secretary of the Administration for Children and
     Families; ADMINISTRATION FOR CHILDREN AND
23
     FAMILIES; OFFICE OF HEAD START; and TALA
24   HOOBAN, in her official capacity as Acting Director of
     the Office of Head Start,
25

26
                                        Defendants.
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            Case 2:25-cv-00781-RSM            Document 35        Filed 05/16/25      Page 2 of 7




 1                                         I. INTRODUCTION

 2          Declarants in this case are Head Start agencies, parents with children who are enrolled

 3   in Head Start, and teachers in Head Start (collectively referred to herein as “Declarants”) who

 4   have important information to share about Head Start and the Defendants’ failure to

 5   appropriately administer Congress’s mandate to provide these services to children and families.

 6   However, because of the general climate of fear created by the Trump Administration,

 7   Declarants fear for their personal, professional, and financial well-being if their identity is

 8   revealed in connection with a case criticizing the Administration. While Declarants suffer

 9   potential retaliation for their disclosure, Defendants suffer no prejudice if Declarants are

10   allowed to proceed in pseudonym. Finally, the public benefits from hearing the information

11   provided by these Declarants because this is information the public would not hear if the

12   Administration’s intimidation tactics were allowed to silence people who would otherwise

13   speak out.

14                                          II. BACKGROUND

15          Declarants are individuals affected by the Defendants’ failure to appropriately

16   administer the Head Start Program. Jane Doe is an administrator at one of the largest Head

17   Start Providers in Washington state. See Declaration of David Montes, Exhibit A at 1. Her

18   declaration provides extensive information about the Head Start program and the effects of the

19   Defendants’ actions on the agency’s ability to administer the program as required by the statute.

20   Id. It also indicates that if Jane Doe is not allowed to maintain her anonymity, she would fear

21   retaliation both against her program and herself and would not be willing to provide this

22   information. Id. at 14-15.

23          Member A is a parent and member of Plaintiff Family Forward Oregon. See

24   Declaration of David Montes, Exhibit B at 1. Member A has a three-year old daughter in Head

25   Start. Id. Member A discusses the importance of Head Start to her daughter’s education and

26   wellbeing and her ability to work, as well as the harms to herself and her family because of

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     2:25-CV-00781-RSM                                             PO BOX 2728 SEATTLE, WA 98111-2728
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             Case 2:25-cv-00781-RSM                 Document 35          Filed 05/16/25         Page 3 of 7




 1   Defendants’ actions. Id.at 2-3. Member A submitted her declaration in pseudonym because of

 2   fear of retaliation from the Trump Administration and other members of the public who may

 3   be inflamed by the rhetoric the administration. Id. at 4.

 4           Member B is a Head Start teacher and member of Plaintiff Family Forward Oregon.

 5   See Declaration of David Montes, Exhibit C at 1. This declaration outlines the work and care

 6   that Head Start educators give to their students and the harm to herself and the children and

 7   families with whom she works as a result of Defendants’ actions. Id. at 2-4. Member B

 8   submitted her declaration in pseudonym because of fear of retaliation from the Trump

 9   Administration and other members of the public who may be inflamed by the rhetoric the

10   administration. Id. at 4.

11           These fears are well founded. One of the hallmarks of this Administration has been a

12   willingness to exact revenge on the government’s foes and perceived foes. 1 Whether it is

13   former government officials, law firms, educational institutions, or others, the Administration

14   has not hesitated to use its vast power to compel allegiance or make life difficult for those who

15   are seen as disloyal. Id. In many cases, these actions have been accompanied, or have

16   sometimes been preceded, by harassment or doxxing of people who speak out against the

17   Administration by right-wing groups.2

18                                                 III. ARGUMENT

19       28 U.S. Code § 1746 allows for unsworn declarations signed under penalty of perjury to be

20   used in any situation where a sworn declaration could be used. This statute “does not prohibit the

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23   1
       See Michael S. Schmidt, In Trump’s Second Term, Retribution Comes in Many Forms, N.Y. TIMES (Apr. 7,
24   2025), https://www.nytimes.com/2025/04/07/us/politics/trump-biden-law-firms-revenge.html.
     2
       Alfred Ng, DOJ Reveals Plan to Protect Doxed Staff, Politico (January 1, 2025) DOJ reveals plans to protect
25   doxed staff - POLITICO; Stephanie Saul, A Mysterious Group Says Its Mission Is to Expose Antisemetic
     Students, N.Y. TIMES (Apr. 1, 2025), https://www.nytimes.com/2025/04/01/us/israel-gaza-student-protests-
     canary-mission.html; Tesfaye Negussie and Nadine El-Bawab, Doxxing Campaign Against Pro-Palestinian
26   College Students Ramps Up, ABC NEWS (Oct. 20, 2023), https://abcnews.go.com/International/doxxing-
     campaign-pro-palestinian-college-students-ramps/story?id=104141630.
27
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            Case 2:25-cv-00781-RSM            Document 35        Filed 05/16/25      Page 4 of 7




 1   use of nicknames, aliases, or pseudonyms; it merely requires by implication that the fact of such

 2   use is expressly stated in the declaration, and that the actual person can be identified.” Springer v.

 3   I.R.S., S-97-0092 WBS GGH, 1997 WL 732526, at *5 (E.D. Cal. Sept. 12, 1997).

 4          Courts allow anonymity “when identification creates a risk of retaliatory physical or

 5   mental harm.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1067 (9th Cir. 2000)

 6   (collecting cases). To determine whether pseudonymity is appropriate in a particular case,

 7   courts examine “(1) the severity of the threatened harm (2) the reasonableness of the

 8   anonymous party’s fears and (3) the anonymous party’s vulnerability to such retaliation.” Id.

 9   “The court must also determine the precise prejudice at each stage of the proceedings to the

10   opposing party, and whether proceedings may be structured so as to mitigate that

11   prejudice.” Id. “Finally, the court must decide whether the public's interest in the case would

12   be best served by requiring that the litigants reveal their identities.” Id. This standard applies

13   to non-party declarants. Guifu Li v. A Perfect Day Franchise, Inc., 270 F.R.D. 509, 514 (N.D.

14   Cal. 2010). Where cases concern governmental activity, the case for proceeding anonymously

15   is particularly strong. See, e.g., E.W. v. N.Y. Blood. Ctr., 213 F.R.D. 108, 111 (E.D.N.Y. 2003).

16          The threatened harms here are both significant and reasonable expected to occur. Based

17   on the well-documented actions and threats of the Trump Administration and third-party actors

18   aligned with the Administration, Declarants fear that their personal safety may be at risk and

19   that third party groups will dox, threaten and potentially harm them if their identities are

20   disclosed. Because these programs work with children, there is also a threat that if a program

21   is targeted, it would put the children in the program in harm’s way. The well-established recent

22   history of retribution by this Administration makes these fears of retaliation reasonable. In

23   addition to the threats of physical harm, there is a very real threat that the Administration will

24   retaliate by revoking funding for programs, as they have done against educational institutions,

25   or taking adverse actions on Declarants’ employment. None of the Declarants have the means

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                                                                   (206) 624-2184
             Case 2:25-cv-00781-RSM           Document 35        Filed 05/16/25      Page 5 of 7




 1   to protect themselves from such attacks. As such, the three factors from Advanced Textile are

 2   satisfied.

 3           In contrast, the Defendants’ interests will not be harmed by pseudonymity in this case.

 4   First, the allegations in these declarations can be investigated generally, and do not require the

 5   identity of the individuals named in the declarations. These declarations describe individual

 6   experiences that are representative of those experienced by Head Start staff and families. This

 7   will give Defendants the opportunity to investigate whether this situation is occurring in Head

 8   Start agencies or with Head Start parents or educators around the country and does not require

 9   Defendants to know the names of Declarants. They can obtain most of the information needed

10   to confirm or deny the allegations in this way. Second, Declarants are not parties to this case

11   and are not subject to the same disclosure requirements as the parties in this case.

12           Finally, given the circumstances here, anonymity and protection from retaliation serves

13   rather than detracts from the public interest. While the public has an interest in access to court

14   proceedings, the individual identity of Declarants is not necessary to facilitate the public’s

15   understanding of judicial decision-making or “public scrutiny of the important issues in this

16   case.” Advanced Textile Corp., 214 F.3d at 1072. Moreover, because of the Declarants’ fear in

17   this case, if Declarants are not allowed to proceed in pseudonym, it means that the public may

18   never learn the important information they have to share. Pseudonymity will allow more

19   information into the public sphere.

20           The balance here clearly weighs in favor of allowing pseudonymity and Plaintiffs

21   request that Declarants be allowed to proceed as such.

22                                         IV. CONCLUSION

23           For the reasons stated above, Plaintiff requests that the Court allow Declarants to

24   proceed in pseudonym. If denied, Plaintiff’s request that Declarants be allowed to withdraw

25   their declarations.

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            Case 2:25-cv-00781-RSM          Document 35       Filed 05/16/25     Page 6 of 7




 1   The undersigned certifies that this motion contains 1,243 words, in compliance with the

 2   Local Civil Rules.

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            Case 2:25-cv-00781-RSM      Document 35   Filed 05/16/25   Page 7 of 7




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